                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


 ROWVAUGHN WELLS,
 INDIVIDUALLY
 and as ADMINISTRATRIX AD LITEM of
 the ESTATE of TYRE DEANDRE
 NICHOLS, deceased,
                                                         CIVIL ACTION
                                                         NO. 2:23-cv-2224
        Plaintiff,

 v.

 The CITY of MEMPHIS, a
 MUNICIPALITY; et.al.,

       Defendant.
______________________________________________________________________________

            DEFENDANT, DESMOND MILLS, JR.’S, STATUS REPORT
______________________________________________________________________________

       COMES NOW Defendant, Desmond Mills, Jr. individually, by and through his

counsel, Clyde W. Keenan, and states as follows:



       1.   On September 21, 2023 the Court granted a stay as to the Defendant, Desmond Mills,

            Jr. and ordered counsel to submit a status report on or before November 1, 2023.

       2. Counsel has been in contact with Blake Ballin who is the attorney representing

            Defendant, Desmond Mills, Jr., in the on-going criminal proceedings.

       3. There has been no change in the status of this matter since the Courts issuance of the

            Order regarding the stays.
                                                      Respectfully submitted,

                                                      05370ck/71<hiciv
                                                      s/Clyde W. Keenan
                                                      __________________________
                                                      Clyde W. Keenan, #5370
                                                      KEENAN LAW & CONSULTING
                                                      6465 N. Quail Hollow, #200
                                                      Memphis, TN 38120
                                                      (901) 767-1842




                                 CERTIFICATE OF SERVICE

       I, Clyde W. Keenan, hereby certify that on November 1, 2023 I filed a copy of the

foregoing with the Court via the Court’s ECF system, and that upon filing, a copy will be sent

via the Court’s ECF system to all registered parties in this case.



                                                      Respectfully submitted,

                                                      05370ck/71<hiciv
                                                      s/Clyde W. Keenan
                                                      __________________________
                                                      Clyde W. Keenan, #5370
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